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                        IN THE UNITED STATS DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                FT. WORTH DIVISION

 ROBERT “BOB” ROSS                          §
 Plaintiff/Counterclaim Defendant           §
                                            §      Case No. 4:22-CV-00343-Y
                                            §
                                            §
 ASSOCIATION OF                             §
 PROFESSIONAL FLIGHT                        §
 ATTENDANTS, MCGAUGHEY,                     §
 REBER AND ASSOCIATES, INC.,                §
 JULIE HEDRICK, ERIK HARRIS,                §
 LARRY SALAS, JOSH BLACK                    §
 Defendants/Counterclaim Plaintiff.         §
                                            §
 EUGENIO VARGAS                             §
 Plaintiff/Counterclaim Defendant           §
                                            §      Case No. 4:22-CV-00430-Y
                                            §
                                            §
 ASSOCIATION OF                             §
 PROFESSIONAL FLIGHT                        §
 ATTENDANTS, JULIE HEDRICK,                 §
 ERIK HARRIS, LARRY SALAS,                  §
 JOSH BLACK
 Defendants/Counterclaim Plaintiff.         §
                                            §

                    AFFIDAVIT OF HEIDI MORGAN IN SUPPORT OF
                         MOTION FOR PROTECTIVE ORDER



BEFORE ME, the undersigned authority, on this day personally appeared Heidi Morgan, who

being by me first duly sworn, did state:

       1.      “I am employed as a flight attendant working with American Airlines, Inc. since

               1986, and I am currently serving as the Association of Professional Flight Attendant

               (“APFA”) Miami Base Vice-President. I have personal knowledge of the facts

               contained herein, I am 21 years or older and of sound mind to make these




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            statements.

            a. On or about June 2015, Melissa Chinery sought my assistance in filing a Notice

               of Dispute against Kim Kaswinkle, Philadelphia Base President. The Notice of

               Dispute system is internal process for filing grievances against American

               Airlines, Inc. under the Collective Bargaining Agreement. Melissa Chinery

               sought my assistance through a colleague, Kiri Wirth.          In a telephone

               conversation, I discovered Ms. Chinery’s intent was to use the Notice of

               Dispute system to file a complaint for a dispute based on union representation.

               I did not work for the APFA union and informed her of this fact. After speaking

               with her, I discovered she wanted to use the Notice of Dispute system for

               purposes of complaining against her Base President Kim Kaswinkle. When I

               inquired about her motivation, I realized the complaint was not within the

               guidelines of filing a complaint with the company based on political

               motivations and advised her of this. This was my opinion as a fellow union

               member, who held substantial knowledge of the complaint process.

            b. On or about May of 2020, I was informed by a former AFA representative,

               Roger Holmin, that APFA Union Member, Melissa Chinery, and AFA General

               Counsel, Joe Burns, were engaged to be married. I was never informed of this

               engagement in my capacity as a Union Representative.

            c. On or about May of 2020, I sent a letter to the APFA Board of Directors after I

               spoke to the APFA National President Julie Hedrick and told her that I had

               concerns about APFA hiring AFA Joe Burns, General Counsel to represent

               APFA in negotiations of the APFA Collective Bargaining Agreement with




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               American Airlines, Inc. as I felt this was a conflict of interest as Mr. Burns was

               not an independent attorney, but one employed by a competing union. I felt

               this created a conflict of interest as AFA had a history of attempting mergers

               with APFA in the past and that his motivations would be to weaken APFA so

               that APFA would merge with AFA. My concern was that Mr. Burns’s dual

               representation of the two unions posed a conflict of interest because counsel for

               AFA would benefit from weakening the American Airlines, Inc. Flight

               Attendants union by achieving less advantageous employment terms for the

               Flight Attendants. This would cause frustration by the membership of APFA

               and encourage the membership to vote to join AFA. Ms. Hedrick informed me

               that she did not care about my concerns and that Mr. Burns would be hired to

               represent APFA.

            d. On June 3, 2020, I decided to post a public statement onto Facebook within an

               American Airlines, Inc. Flight Attendants page and state my concerns for the

               use of AFA General Counsel, Joe Burns as counsel for APFA (“Facebook

               Statement”). In this Facebook Statement, I included a true and correct copy of

               the letter I sent to the APFA Board of Directors.          Attached hereto and

               incorporated herein is a true and correct copy of the Facebook Statement that I

               made on June 3, 2020.

            e. Attached hereto and incorporated herein is my June 2020 activity record which

               reflects that I was on a Leave of Absence from American Airlines, Inc. from

               May-September of 2020. In the RMV column, the code “DU” is the code

               subscribed to employees enrolled in the Payroll Support Program on a Leave of




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               Absence. I was an inactive employee on a Leave-of-Absence and did not work

               for APFA at the time that I made the statement. I was paid by American

               Airlines, Inc. under the PSP (Payroll Support Program) during the peak of the

               Covid crisis.

            f. I have never accessed a personal travel history of another American Airlines,

               Inc. employee, nor do I have the access to another American Airlines, Inc.

               employee’s travel history. To my knowledge, American Airlines, Inc.

               employees do not have access to travel records for other employees.

            g. I was the APFA Union Representative for Eugenio Vargas and Nena Martin

               during each of their APFA Disciplinary Arbitration hearings on charges brought

               by Melissa Chinery-Burns. Randy Trautman was a witness who testified on

               behalf of Eugenio Vargas and planned to testify on behalf of Nena Martin.

            h. On July 8, 2022, I received an email from Erik Harris, APFA National Treasurer

               informing me that an investigation was initiated into my financial documents

               and expenses for APFA over the last ten years.            Attached hereto and

               incorporated herein is a true and correct copy of the email I received.

            i. On September 21, 2023, I was contacted by the Miami Base President, Randy

               Trautman, who informed me that he received an emailed complaint about me

               from a member. The complaint was about the public Facebook Statement that

               I made from June of 2020. The union member requested that Mr. Trautman

               speak to me about this Facebook Statement and request that I have it removed.

               On September 22, 20023, I requested that Mr. Trautman send me a copy of the

               original email he received from the APFA member. Attached hereto and




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               incorporated herein is a true and correct copy of the email I received from Mr.

               Trautman.

            j. During June of 2015 and May to September of 2020, I was not acting on behalf

               of APFA in any official capacity, nor was I paid by APFA.



      FURTHER AFFIANT SAYETH NOT.


                                                ____________________________________
                                                Heidi Morgan


      SWORN AND SUBSCRIBED TO before me on this _____day of September 2023.




                                                ____________________________________
                                                ________________________________
                                                Notary Public, State of Florida




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                         considered a serious breech of
                         confidentiality and trust in her
                         role as an elected Union
                         representative.

                         Additionally, in the last few
                         days, Heidi gave her permission
                         for another FA to post an
                         outline of a conversation she
                         had with the APFA National
                         President, as well as a letter to
                         the BOD which outlined her
                         displeasure over using Joe
                         Burns as our lead negotiator,
                         among other concerns like the
                         fallacy of AFA raiding APFA.

                         Randy, it is disgraceful for an
                         elected union representative to
                         assist management in
                         discrediting the Union as well as
                         our negotiations. As a former
                         negotiator, you know first hand
                         how much management depends
                         on (potentially) subversive
                         behavior of anyone within the
                         Union, especially during
                         mediated collective bargaining
                         where the NMB is watching
                         closely.

                         When a highly visible and very
                         vocal Union representative goes
                         public with their discontent over
                         who’s leading negotiations,
                         management as well as the
                         NMB question whether the
                         Union truly is representing the
                         will of the membership.

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                         In her social media postings,
                         Heidi admits her breech of
                         confidentiality when she
                         disclosed the details of a
                         meeting regarding the possible
                         representation of a FA (Melissa
                         Chinery). Heidi provided details
                         of their conversation on social
                         media as well as providing her
                         opinion on the character of the
                         FA.

                         Randy, discussions with a FA
                         related to possible
                         representation is considered
                         confidential.

                         As a MIA Base VP, Heidi
                         speaks for you as well as APFA.
                         Randy, please explain how a
                         potential violation of
                         Weingarten is considered
                         acceptable. Is this Union
                         weighing whether a FA who
                         calls for representation; is a
                         political adversary or someone
                         who walks in lock step with
                         their own personal political
                         leanings in order to represent
                         the FA’s interests?

                         Additionally, please explain
                         when it is acceptable for elected
                         Union leaders to breech
                         confidentiality, access another
                         FA’s travel records when the
                         travel record is not the subject
                         of possible discipline which
                         results in a representational

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1               IN THE MATTER OF THE ARBITRATION BETWEEN
2     MELISSA CHINERY, Member            )BEFORE THE ARTICLE VII
      And                                )
3     SANDRA LEE, Member                 )
                                         )ARBITRATOR
4     AND                                )
                                         )
5     EUGENIO VARGAS, Member             )HON. RUBEN R. ARMENDARIZ
6
7
8
9                **************************************
10                           SEPTEMBER 15, 2021
11                                  VOLUME 2
12               **************************************
13
14
15
16               BE IT REMEMBERED that on the 15th day of
17    September, 2021, the above cause came on for hearing
18    before HON. RUBEN R. ARMENDARIZ at the WESTIN IRVING
19    CONVENTION CENTER AT LAS COLINAS, 400 West Las Colinas
20    Boulevard, located in the City of Irving, County of
21    Dallas, State of Texas, whereupon the following
22    proceedings were had.
23
24
25



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1                         A P P E A R A N C E S:
2          HON. RUBEN R. ARMENDARIZ
           LABOR MANAGEMENT ARBITRATOR
3          29010 Pfeiffers Gate
           Fair Oaks Ranch, Texas 78015
4          PHONE: 210.379.0860
           EMAIL: arbruben@gmail.com
5
6          APPEARING AS THE ARBITRATOR
7
           MS. MELISSA CHINERY
8          EMAIL: Melchinery@aol.com
                     AND
9          MS. SANDRA LEE
           EMAIL: SEL27995@gmail.com
10
           APPEARING FOR THE CHARGING PARTIES
11
12         MS. HEIDI J. MORGAN
           EMAIL: heidimorgan65@gmail.com
13                   AND
           MS. NENA MARTIN
14
           APPEARING FOR THE CHARGED PARTY, EUGENIO VARGAS
15
16
                                   *   *   *   *
17
18
19
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25



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1          A.     Not that I recall, but I wasn't here for when
2     they instructed them to.
3          Q.     Okay.    Thank you.    Has Bob Ross paid back the
4     money?
5          A.     No.
6          Q.     How much does he still owe?
7          A.     About $5400.
8          Q.     Are we doing anything?
9          A.     It is --
10                      MS. MORGAN:      Objection.      They're
11    discussing Bob Ross.
12                      THE ARBITRATOR:       Yeah, we're -- we're
13    going to other areas.
14                      MS. LEE:     It still concerns the
15    overpayment.
16                      MS. MORGAN:      Object --
17                      THE ARBITRATOR:       Just limit it to Mr.
18    Vargas.
19                      MS. LEE:    Okay.    So just for
20    clarification, I cannot talk about Bob Ross at all?
21                      THE ARBITRATOR:      Well, you can -- you can
22    raise some issues if --
23                      MS. LEE:    Okay.
24                      THE ARBITRATOR:      -- it's fit -- pertains
25    to this case, you know.



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1     that I receive, should there be any updates.
2                        Thank you again for your patience and
3     understanding.       Thanks, Erik.
4          Q.     Okay.    So isn't it true that this email
5     confirms in a direct quote from you that there are
6     individuals, quote, there are individuals, who have
7     seen these documents in the recent past; however, they
8     have inexplicably disappeared from my custody, end
9     quote?
10         A.     Yes.
11         Q.     Okay.    So you personally have taken ownership
12    for this issue because you as the Treasurer take
13    responsibility?
14         A.     Yes.
15         Q.     Isn't it also true yesterday that you
16    testified some of these items were found?
17         A.     Yes.
18         Q.     And we have every confidence in your ability
19    to locate them and we know the stress that this
20    arbitration has placed on your department.
21         A.     Yes.    Thank you.
22         Q.     So let's go to August 4th, 2020, the date Ms.
23    Chinery and Ms. Lee were, by their own claim, given the
24    Ross Transition Agreement.
25         A.     Yes, or shown it.



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1          Q.     Shown it.    Well, given to review --
2          A.     Oh, I didn't give it.
3          Q.     -- shown, given to review.         Who was in the
4     room with them?
5          A.     At the time it was Julie, myself, Margot.             I
6     believe the other two Officers that were there, from
7     what I recall.
8          Q.     Who gave them the document?
9          A.     I did, yeah.
10         Q.     Okay.    Did you see the document?
11         A.     Yes.
12         Q.     Where did you get the document?
13         A.     I received it from our attorney.
14         Q.     Which attorney?
15         A.     Bill Osborne.
16         Q.     He handed it to you?
17         A.     No, he emailed it to me.
18         Q.     Would you recognize it if you saw the
19    document?
20         A.     Yes.
21         Q.     Okay.    Would you turn to Exhibit 98?
22                       MS. CHINERY:     Do we have 98?
23                       MS. MORGAN:     It's been admitted 98.
24                       MS. LEE:    Do we have 98?
25                       MS. MORGAN:     Yes, we gave it to you



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1     yesterday.     It's the Ross -- the signed, executed Ross
2     Transition Agreement --
3                        MS. LEE:   (Unintelligible).
4                        MS. MORGAN:     Are you looking at it?
5                        THE WITNESS:    I looked through it.
6                        MS. MORGAN:     You guys ready?
7                        MS. CHINERY:     Yes.
8          Q.     (BY MS. MORGAN)      Erik, is that the document
9     you gave them?
10         A.     Yes, or showed them, yes.
11         Q.     Does it have a signature page?
12         A.     Yes.
13         Q.     Would you go back to the first page, Erik?
14    Would you read into the record item number four, which
15    is the economic terms of the Ross Transition Agreement?
16         A.     APFA agrees to pay Ross --
17                       THE REPORTER:    Read it slowly, please.
18                       THE WITNESS:    Sure.
19         A.     APFA agrees to pay Ross all of his accrued and
20    unused sick and accrued and unused vacation time --
21                       MS. CHINERY:     Objection.      We were not
22    allowed to talk about the Ross, and these -- this is
23    talking about Bob Ross.        There's a case for that.
24                       THE ARBITRATOR:      They're bringing it
25    into the record, so --



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